      Case 1:25-cv-00935-PLF      Document 38        Filed 05/02/25   Page 1 of 3




                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

NATIONAL TREASURY EMPLOYEES UNION
800 K Street N.W., Suite 1000
Washington, D.C. 20001,

                          Plaintiff,

             v.

DONALD J. TRUMP,                                       Case No. 1:25-cv-00935 (PLF)
President of the United States
1600 Pennsylvania Avenue N.W.
Washington, D.C. 20500, et al.,

                          Defendants.
__________________________________________________

                            JOINT STATUS REPORT

      Pursuant to the Court’s April 25, 2025 Order, Plaintiff National Treasury

Employees Union (NTEU) and Defendants Donald J. Trump, et al., respectfully

submit this joint status report regarding a proposed schedule for how this case

should proceed.

      The parties have conferred and agree that the next steps before this Court

would be briefing on motions for summary judgment. There are two matters

pending before the U.S. Court of Appeals for the District of Columbia Circuit: the

defendants’ appeal of this Court’s order granting a preliminary injunction and the

defendants’ motion for a stay of that order. The parties would be in a better position

to propose dates for summary judgment briefing before this Court once they know

how proceedings at the appellate level play out.
      Case 1:25-cv-00935-PLF      Document 38     Filed 05/02/25   Page 2 of 3




      Accordingly, the parties suggest that they propose a schedule for summary

judgment briefing before this Court within seven days after the D.C. Circuit sets a

briefing schedule on the government’s appeal.

Respectfully submitted,

JULIE M. WILSON
General Counsel
D.C. Bar 482946

PARAS N. SHAH
Deputy General Counsel
D.C. Bar 983881

/s/ Allison C. Giles
ALLISON C. GILES
Assistant Counsel
D.C. Bar 439705

LINDSAY DUNN (pro hac vice)
Assistant Counsel
N.Y. Bar 4574224

NATIONAL TREASURY EMPLOYEES
UNION
800 K Street N.W., Suite 1000
Washington, D.C. 20001
(202) 572-5500
julie.wilson@nteu.org
paras.shah@nteu.org
allie.giles@nteu.org
lindsay.dunn@nteu.org

Attorneys for Plaintiff NTEU


                                          YAAKOV M. ROTH
                                          Acting Assistant Attorney General
                                          Civil Division

                                          EMILY M. HALL
                                          Counsel to the Acting Assistant Attorney
                                          General
                                         2
Case 1:25-cv-00935-PLF   Document 38   Filed 05/02/25    Page 3 of 3




                                JACQUELINE COLEMAN SNEAD
                                Assistant Branch Director
                                Civil Division, Federal Programs Branch

                                  /s/Lydia J. Jines
                                LYDIA JINES (MD Bar No. 2205230001)
                                Trial Attorney
                                U.S. Department of Justice, Civil Division
                                Federal Programs Branch
                                1100 L St., NW, Twelfth Floor
                                Washington, DC 20530
                                Tel: (202) 353-5652
                                Fax: (202) 616-8470
                                Email: Lydia.Jines@usdoj.gov

                                Counsel for Defendants
                                May 2, 2025




                               3
